

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,532






EX PARTE JOEL COOPER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 909324 IN THE 209TH DISTRICT COURT


FROM HARRIS COUNTY





	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault of a child and sentenced to life imprisonment.  The First Court of Appeals affirmed his
conviction.  Cooper v. State, No. 01-03-01092-CR (Tex. App. - Houston October 14, 2004, no pet.).

	Applicant contends that his appellate counsel rendered ineffective assistance because
Applicant wanted to file a petition for discretionary review and relied on appellate counsel's
representation that she would file a petition for discretionary review on his behalf, but counsel did
not file a petition for discretionary review or notify Applicant that she would not be filing a petition
for discretionary review until after the filing deadline.

	Appellate counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
has entered findings of fact that appellate counsel notified Applicant that she would continue to
pursue his appeal until she heard otherwise from Applicant, but after the filing deadline counsel
informed Applicant that the petition for discretionary review was past due and that she would not
be filing a petition on Applicant's behalf.  Thus, Applicant was denied the opportunity to file a
petition for discretionary review.  Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time petition for
discretionary review of the judgment of the First Court of Appeals in Cause No. 01-03-01092-CR
that affirmed his conviction in Case No. 909324 from the 209th District Court of Harris County,
Texas.  Applicant shall file his petition for discretionary review with the First Court of Appeals
within 30 days of the date on which this Court's mandate issues.



Filed: November 1, 2006

Do not publish


